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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA


                 V.                               Criminal No. 18-10479-PBS


ALAIN LENORD, a/k/a "OB,"
                      Defendant.


                        PRELIMINARY ORDER OF FORFEITURE


SARIS, C.J.

       WHEREAS, on December 19, 2018, a federal grand jury sitting in the District of

Massachusetts retumed a one-count Indictment, charging Alain Lenord, a/k/a "OB" (the

"Defendant") with Receipt of a Firearm While Under Indictmentfor Felony, in violation of 18

U.S.C. § 922(n) (Count One);

       WHEREAS, the Indictment also included a Firearm Forfeiture Allegation, pursuant to 18

U.S.C. § 924(d)(1) and 28 U.S.C § 2461(c), which provided notice that the United States

intended to seek the forfeiture, upon convictionof the Defendantof the offense alleged in Count

One of the Indictment, of any firearm or ammunition involved in or used in any willful

commission of the offense. The property to be forfeited included, but was not limitedto, the

following:

               (a)    one Clock, Model 30, .45 caliber handgun, bearing serial
                      number WZC681 (the "Firearm");

       WHEREAS, on April 8, 2019, at a hearing pursuant to Rule 11 of the Federal Rules of

Criminal Procedure, the Defendant pled guilty to Count One of the Indictment, pursuant to a

written plea agreement that he signed on March 25,2019;

       WHEREAS, in Section 7 of the plea agreement, the Defendant admitted that the Firearm

is subject to forfeiture because it was involved in or used in a willful commission of the offense
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charged in Count One of the Indictment;

         WHEREAS, in light of the Defendant's guilty plea and admission in the plea agreement,

the United States has established the requisite nexus between the Firearm and the offense to

which the Defendant pled guilty, and accordingly, the Firearm is subject to forfeiture to the

United States pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C § 2461(c); and

         WHEREAS, pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C § 2461(c) and Rule 32.2(b)(2)

of the Federal Rules of Criminal Procedure, the United States is now entitled to a Preliminary

Order of Forfeiture against the Firearm.

         ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

         The Court finds, pursuant to Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure,

that the United States has established the requisite nexus between the Firearm and the offense to

which the Defendant pled guilty.

         1.     The Court shall retain jurisdiction in this case for the purpose of enforcing this

Order.


         2.     Accordingly, all of Defendant's interests in the Firearm are hereby forfeited to the

United States of America for disposition pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

§ 2461(c).

         3.     Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the

United States is hereby authorized to seizethe Firearm and maintain it in its secure custody and

control.


         4.     Pursuantto 21 U.S.C. § 853(n)(l), the United States shall publish, for thirty (30)

consecutive calendardays on the government forfeiture websitewww.forfeiture.gov. notice of

the Preliminary Orderof Forfeiture and notice of the United States' intentto dispose of the
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Firearm.


        5.         Pursuant to 21 U.S.C. § 853(n)(l), the United States shall give, to the extent

practicable, direct written notice to any person known to have alleged an interest in the Firearm

to be forfeited.


        6.         Pursuant to 21 U.S.C. § 853(n)(2) and (3), the notice referred to above shall state:

(a) that any person, other than the Defendant, asserting a legal interest in the Firearm, shall,

within sixty (60) days after the first day of publication on the government forfeiture website or

within thirty (30) days after receipt of actual notice, whichever is earlier, file a petition with the

United States District Court in Boston, Massachusetts, requesting a hearing to adjudicate the

validity of his or her interest in the Firearm; and (b) that the petition shall be signed by the

petitioner under the penalty of perjury and shall set forth the nature and extent of the petitioner's

right, title, or interest in the Firearm, the time and circumstances of the petitioner's acquisition of

the right, title, or interest in the Firearm, any additional facts supporting the petitioner's claim,

and the relief sought.

        7.         Pursuant to 21 U.S.C. § 853(n)(7), following the Court's disposition of all

petitions filed under 21 U.S.C. § 853(n)(6), or if no such petitions are filed following the

expiration of the period provided in 21 U.S.C. § 853(n)(2) for the filing of such petitions, the

United States of America shall have clear title to the Firearm.

        8.         Upon adjudication of all third party interests, this Court will enter a Final Order of

Forfeiture, pursuant to 18 U.S.C. § 924(d)(1), 28 U.S.C § 2461(c) and Rule 32.2(c) of the

Federal Rules of Criminal Procedure, in which all interests will be addressed.

        9.         Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his

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sentencing, will be part of the Defendant's criminalsentence, and will be included in the

criminaljudgment entered by this Court againsUiim.

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                                                    PATTIB. SARIS
                                                    ChiefUnited States District Judge

Dated:
